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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
___________________________________________________________________

DEBRA SPERO, as Natural Mother of
V.S., an infant

                              Plaintiffs,
      v.                                                            AFFIDAVIT OF
                                                                 DEBORAH CADDICK
                                                              Civil Action No.: 3:17-cv-00007
VESTAL CENTRAL SCHOOL DISTRICT
BOARD OF EDUCATION, VESTAL CENTRAL
SCHOOL DISTRICT, JEFFREY AHEARN,
Superintendent of Schools, ALBERT A. PENNA,
Interim Principal of Vestal High School,
DEBORAH CADDICK and CLIFFORD KASSON,
in their Individual and Official Capacities,

                        Defendants,
_____________________________________________________________________

STATE OF NEW YORK             )
COUNTY OF BROOME              ) ss.:

   I, DEBORAH S. CADDICK, being duly sworn, depose and say:
   1. I a resident of Broome County, New York and I am an Assistant Principal of the Vestal Central
      High School. I am a career educator.
   2. I am a duly certified teacher in New York State, certified in the field of English. I have 10 years of
      experience as a classroom teacher. I subsequently became an administrator in October of 2003. I
      also hold an Administrative Certificate as a school district administrator.
   3. I have served in the capacity of Assistant Principal of the Vestal Central High School since 2003.
   4. I am familiar with the facts and circumstances of the matters that led up to the suspension of
      Plaintiff V.S. from the Vestal Central School District. Additionally, I am familiar with V.S.’s
      academic record as a student at Vestal. I am also familiar with the policies and procedures of the
      Vestal High School.
                                       ACADEMIC STANDING OF V.S.
   5. V.S. was in his high school senior year at the time of the incidents which give rise to this suit. My

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   review of the records and my personal familiarity with the academic standing of V.S. shows that he
   needs credit in each class he enrolled in for his senior year in order to graduate. There was no
   margin for error.
6. Attached hereto as Exhibit “A” is a graduation status form which was sent to V.S., dated August
   22, 2016. This form shows what V.S. was required to complete in his senior year in order to
   graduate. The completion of the 5 ½ credits during his senior year would give him the minimum
   22 credits required to graduate. All courses had to be successfully completed in order for him to
   graduate in June of 2017.
7. Attached hereto as Exhibit “B” is a copy of an interim grade report for V.S. dated October 6, 2016,
   which is during the first marking period of the school year. The report shows that V.S. was, at the
   time, failing physical education. The code numbers which follow his grade of 60 on the grade
   report are 039. That code indicates that the student failed to make up work when he was absent.
   The other code of 052 indicates that the student lost credit because he failed to bring in the
   appropriate materials/equipment for physical education class.
8. Attached hereto as Exhibit “C” is a copy of V.S.’s report card for the end of first marking period
   of the 2016-17 school year. It shows that V.S. was still not passing physical education. At that
   time, his grade had fallen to a 57. Again, the comments indicate he was failing to dress properly
   for gym class and had failed to make up necessary work.
9. Attached hereto as Exhibit “D” is a copy of a form letter sent to V.S. in November of 2016
   regarding the credits needed for graduation. This is a standard form which is sent to high school
   seniors advising them of their academic standing and progress toward graduation requirements.
10. Attached hereto as Exhibit “E” is a copy of V.S.’s interim grade report from December 16, 2016.
   This report displays V.S.’s grades at the close of the marking period which ended approximately
   November 23, 2016, which reflected substantially incomplete work and significant deficiencies.
   These grades were compiled prior to the disciplinary episodes involved in this matter. This grade
   report shows that V.S. had incomplete course work in chemistry. He was also failing participation
   in government, as reflected by the presence of code 032 on the report, which stands for the
   proposition that the student did not complete anywhere from one to five assignments. The report
   also shows that in Foundations for College Math, the course being taught by Katherine Dyer, V.S.


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   had a 41 average. The report further shows that in Forensic Science, V.S. had a grade of 42, and in
   physical education he had a grade of 60 (passing is 65).
11. It should also be noted that, in the column to the extreme right on the form, the report states the
   days the student was absent from school. The report states that V.S. missed various classes
   repeatedly, including missing Chemistry, Participation in the Government, Math, English and Phys.
   Ed. on various days. The report’s comments indicate that he often did not make up the work that
   he missed.
12. Attached hereto as Exhibit “F” is V.S.’s the second report card for the 2016-17 school year,
   covering the period from November 10, 2016, to January 27, 2017, the end of the first semester.
   This report card shows that V.S. had incomplete grades in Math. Although he had, at this time, just
   barely raised his grades to passing in his other subjects, he was behind in Math.
13. Attached hereto as Exhibit “G” is V.S.’s student transcript.
                 CIRCUMSTANCES LEADING TO V.S.’S SUSPENSION
14. It is my understanding that Plaintiffs are alleging that V.S. was suspended because he voiced
   concerns about what he perceived to be racially discriminatory treatment. I was personally
   involved in investigating V.S.’s claims of racism, and know that the District’s investigation of
   those allegations found them to be baseless and unfounded.
15. Initially, V.S. was sent to the office by Mrs. Dyer on November 22, 2016, for refusing to put his
   cell phone away. As he was leaving, he called Mrs. Dyer a fucking racist.
16. Mrs. Dyer subsequently submitted a discipline report regarding V.S.’s comment calling her a
   fucking racist. I reviewed that report with V.S. on December 1, 2016.
17. After meeting with V.S. and hearing his allegation of a racist comment by Mrs. Dyer, I placed him
   on probation for senior activities based upon his use of profanity and insubordination, and also
   initiated an investigation of V.S.’s charge that Mrs. Dyer had racially segregated students in her
   class by preparing a written report of possible harassment/discrimination. A copy of that form is
   attached as Exhibit “H”.
18. The initial report was referred to my fellow assistant principal Cliff Kasson (who is now the head
   principal of the high school).     Mr. Kasson thoroughly investigated V.S.’s claim of racial
   discrimination through interviews with V.S., several other students and Mrs. Dyer. I am reliably


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   informed that Mr. Kasson concluded that V.S.’s claims were unfounded after interviewing Mrs.
   Dyer and numerous student witnesses.
                ACADEMIC SUPPORT AND OPPORTUNITIES FOR V.S.
19. I also am aware that V.S. was given considerable academic support even during his period of
   suspension. Beginning on December 2, 2016 (when the first suspension began) through December
   23, 2016, make up work was provided to V.S. during those periods. The records in the District
   Guidance Office demonstrate that make up work was provided during this period of suspension.
   Attached as Exhibit “I” are the notes of the staff for the Principal, teachers and guidance
   counseling provided during his suspension.
20. Upon students’ return from vacation on January 3, 2017, a tutoring program was established for
   V.S. as indicated for suspended students under state law and regulation.
21. Then, on January 5, 2017, V.S. was reinstated to a regular education program, and attended classes
   through the completion of his disciplinary hearing on February 8, 2017.
22. It is significant to note that after February 8, 2017, no one on behalf of V.S. had contact with me,
   or, upon information and belief, anyone at Vestal High School seeking information regarding
   alternative education options.
23. There were various options available to V.S. despite his out of school suspension. V.S. could have,
   for example, applied to pursue a TASC diploma (formerly called a GED). As of July 1, 2017, he
   would be eligible to participate in TASC diploma program at no cost to him. This is a program
   available to him through the local BOCES.
24. In addition to the TASC Program, the District also has a Homeschooling program available to V.S..
    V.S. would need to do have his parent make a request to the Superintendent to be treated as a
   student to receive homeschooling. That request would then go to the BOCES office. BOCES
   provides a Homeschooling Program which the District participates in. BOCES would then send a
   packet of materials explaining how the Homeschooling Program works and what the requirements
   of the same are. Attached hereto as Exhibit “J” is a copy of the paperwork involved in applying
   for homeschool status.
25. There are numerous on-line services, many of which are free, available for students who desire to
   be home instructed.


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26. All of these various options were and are available to V.S. and were available to V.S. all along.
   Upon information and belief, V.S has not pursued any of these options which would have permitted
   him to continue his education.
                                    V.S. ATTENDANCE RECORDS
27. Attached hereto as Exhibit “K” are V.S.’s school attendance records. It should be noted that V.S.
   had a considerable amount of excused and unexcused absences during the school year prior to his
   suspension.
28. After his reinstatement as a full-time student on January 5, 2017, V.S. missed several days of
   school even though he had been recently readmitted during the pendency of his suspension. For
   example, on January 17, he was dismissed for the day from the nurse’s office. He then was absent
   for the entire school day on January 30 and 31, 2017 and February 3, 2017, had an unexcused
   absence for 8th period on February 6, 2017, and had unexcused absences for the entire day on
   February 7 and 8, 2017. Thereafter, his current suspension became effective.
29. I point this out to the Court because it is significant that V.S., while brought back into school, and
   recognizing the compelling need for him to be present in class in order to make up work and in
   order to succeed in his educational program, continued to miss school. While some of these
   absences may have been excused, these actions, in my opinion, are inconsistent with a sincere and
   purported desire and effort by V.S. to complete his educational program.
                          V.S.’S STUDENT DISCIPLINE RECORD
30. Attached hereto as Exhibit “L” is a report of student discipline incidents involving V.S. since
   January of 2014, which covers the entire period of time while V.S. was a student at Vestal High
   School. This report shows a series of episodes involving reports of intimidation of other students
   to truancy, and a variety of types of misconduct. We attach the student discipline record of V.S.
   because the student discipline record is always relevant in any student discipline case. The
   discipline history of a student is considered by a hearing officer in determining the appropriateness
   and/or the severity of the penalty.
31. This evidence is also offered to counter the statements contained in the declaration of Deborah
   Spero. For example, in paragraph 11 of the Deborah Spero declaration, it is stated that V.S. never
   hurt anyone or threatened anyone. To the contrary, his discipline reports reflects several instances


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   and altercations with other students, reports of violence directed at other students as well as
   damaging property and allegations of theft. These are in addition to the numerous other instances
   described in the student discipline report. Thus, to the extent that the Plaintiffs allege that V.S. was
   a good or model student, the evidence firmly suggests the contrary.
         DISRUPTION CAUSED BY PUBLICITY OF UNFOUNDED ALLEGATIONS
32. I am also personally aware of the disruption to school operations that occurred following V.S.’s
   initial suspension from the high school. V.S. made public allegations of racism against the District
   through social and traditional media, claiming that he was suspended because he called a teacher a
   racist.
33. Upon information and belief, the allegations made by V.S. were utterly baseless. As detailed
   elsewhere in this affidavit, there has, to my knowledge, never been any evidence to substantiate any
   of V.S.’s claims that Mrs. Dyer, a well-respected member of our staff, made any racist remarks or
   otherwise engaged in any racially discriminatory conduct.
34. V.S., his parents and their attorney held several press conferences at which the local television,
   radio and newspaper media provided extensive and detailed coverage. The media coverage was
   extremely disruptive to the high school operations, because some students and members of the
   Vestal community initially believed the allegations made by V.S. that he was a victim of
   discrimination and had been wrongly singled out and wrongly disciplined.
35. In addition to the television, radio, newspaper, internet articles that appeared, there were also a
   large number of social media publications and/or messages and/or posts about V.S.’s allegations.
   These, too, caused great disruption in the high school because the students who initially appeared to
   believe the representations made by V.S. believe that he had been the victim of an outrageous act
   by the school administration and began to protest and cause disruption in the school setting. The
   district was forced to make several public announcements about this matter and a copy of the
   district’s statements released to the media are attached hereto.
36. These episodes forced the district administration to deal with the upset and turmoil within the high
   school caused by this improper and baseless set of allegations issued by V.S., his parents and their
   attorney.
37. As the Assistant Principal at the high school, I dealt with several episodes in the high school in


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